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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

        Plaintiff,

v.

ROGELIO SALAICES-ARENALES

        Defendant.                                         Case No. 03-cr-30164-DRH

                                         ORDER

HERNDON, District Judge:

              The Court having reviewed counsel for the Defendant’s Motion to Continue

the Revocation Hearing (Doc. 156) and after consideration of reasons stated therein, the

Court hereby GRANTS the continuance. The Revocation Hearing in this matter is

continued until after the matter of 06-M-6098-CJP and the indictment which follows is

resolved. Therefore, the Hearing will be set at a later date.

              Under the circumstances, the Court finds that the ends of justice served by

the necessary continuance outweigh the best interests of the public and the defendant in

a speedy trial, and therefore determines that any time elapsed is to be “excluded time”

pursuant to 18 U.S.C. § 3161(h), if such should be found to be applicable.

              IT IS SO ORDERED.

              Signed this 27th day of October, 2006.

                                                           /s/       David RHerndon
                                                          United States District Judge
